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WILLIAM P TOLAND JR

Dear Judge Sorokin,

Thank you very much for affording me the opportunity to write this letter in support of my friend
Ross McLellan and for your consideration.

| worked for over 20 years for Martindale Hubbell and one of my primary duties was sitting with
judges and getting their opinions on the attorneys who appeared before them for the ratings
process. This gave me a very good understanding and appreciation of how valuable, and in demand,
a judge’s time is, so again my thanks for your time.

My father used to have a saying that “all things are local”. He would cite this to support the theory
that our country and society in general was a larger reflection of what occurred locally at the
community level.

This is where | want to focus this letter and my thoughts on Ross. Your Honor, this community of
Hingham ( where | grew up ) and the larger community surrounding Hingham is a much better place
on a variety of levels because it has and does include Ross McLellan. This is a gentleman, in all senses
of the word, who is generous, compassionate, charitable and extremely civic minded. Ross is always
the first in line to lend a hand to his neighbors, whether it is something as small as helping to move
someone or something, or making sure all the kids involved in a sporting endeavor have the
equipment they need or their fees are paid ( done quietly, behind the scenes ) , to providing rides,
helping to coach and organizing events.

These observations | make of Ross’s benevolent predilections are reflected in his active support as a
coach, board member and financial supporter of youth hockey and baseball as well as a number of
other endeavors.

To give you an example of one of these activities, | had never heard of a fantastic organization called
Cradles to Crayons until a casual conversation with Ross going a long while back. | mentioned to him
that one of my sisters would every year, give me bags full of clothes for my daughter that her
daughter had outgrown. | chuckled in telling Ross that these articles my niece had “outgrown” often
still had tags on them and that | believed my sister had a serious shopping problem. He laughed with
me but also gave me a 10 minute description and tutorial on Cradles to Crayons and their mission. He
never mentioned how extensive his involvement and support of this organization was ; however, |
came to learn that Ross not only supported this organization financially but also gave a great deal of
his time volunteering and organizing others in support of this great cause.

This is simply one example of Ross’s contributions toward the greater good but this example is
accompanied by many others, such as The Jimmy Fund, The United Way, as well as Childrens Hospital
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whose efforts to combat childrens vascular anomalies are aided and abetted by an annual summer
whiffleball tournament that Ross puts together.

Your Honor, | could go on for many more pages but | know your time is limited so | will conclude.

In this case of Ross McLellan | would ask that you not only consider Ross’s family, his wife and young
children, but also the community.

| know you have received many testimonials that reflect the many qualities of Ross as a loving
husband and fantastic father to his young children, and a friend to so many. | am also beseeching
you Judge Sorokin to consider the broader view of the community. Our community and by proxy our
society are so much the better for Ross’s presence and involvement directly on so many fronts for so
many years ,as well as the example he has been for me and many others to get involved and be an
active participant in the betterment of our community and those in need.

As I said at the outset Judge Sorokin, | am grateful for the chance to submit this for your
consideration on behalf of my friend Ross McLellan

Yours truly

William P. Toland Jr.
